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                                EXHIBIT L
                                  Footnote 20
   “An observational study of breakthrough SARS-CoV-2 Delta variant infections
                among vaccinated healthcare workers in Vietnam”
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Research paper

An observational study of breakthrough SARS-CoV-2 Delta variant
infections among vaccinated healthcare workers in Vietnam
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A R T I C L E           I N F O                            A B S T R A C T

Article History:                                           Background: Data on breakthrough SARS-CoV-2 Delta variant infections in vaccinated individuals are limited.
Received 8 September 2021                                  Methods: We studied breakthrough infections among Oxford-AstraZeneca vaccinated healthcare workers in
Revised 9 September 2021                                   an infectious diseases hospital in Vietnam. We collected demographic and clinical data alongside serial PCR
Accepted 10 September 2021
                                                           testing, measurement of SARS-CoV-2 antibodies, and viral whole-genome sequencing.
Available online 30 September 2021
                                                           Findings: Between 11th 25th June 2021 (7-8 weeks after the second dose), 69 staff tested positive for SARS-
                                                           CoV-2. 62 participated in the study. Most were asymptomatic or mildly symptomatic and all recovered.
Keywords:
                                                           Twenty-two complete-genome sequences were obtained; all were Delta variant and were phylogenetically
Delta variant
Oxford-AstraZeneca
                                                           distinct from contemporary viruses obtained from the community or from hospital patients admitted prior
COVID-19                                                   to the outbreak. Viral loads inferred from Ct values were 251 times higher than in cases infected with the
vaccine breakthrough                                       original strain in March/April 2020. Median time from diagnosis to negative PCR was 21 days (range 8 33).
Vietnam                                                    Neutralizing antibodies (expressed as percentage of inhibition) measured after the second vaccine dose, or at
                                                           diagnosis, were lower in cases than in uninfected, fully vaccinated controls (median (IQR): 69.4 (50.7-89.1)
                                                           vs. 91.3 (79.6-94.9), p=0.005 and 59.4 (32.5-73.1) vs. 91.1 (77.3-94.2), p=0.043). There was no correlation
                                                           between vaccine-induced neutralizing antibody levels and peak viral loads or the development of symptoms.
                                                           Interpretation: Breakthrough Delta variant infections following Oxford-AstraZeneca vaccination may cause
                                                           asymptomatic or mild disease, but are associated with high viral loads, prolonged PCR positivity and low lev-
                                                           els of vaccine-induced neutralizing antibodies. Epidemiological and sequence data suggested ongoing trans-
                                                           mission had occurred between fully vaccinated individuals.
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                                                                                                1. Introduction

                                                                                                   SARS-CoV-2 Delta variant is approximately 60% more transmissi-
                                                                                                ble than the Alpha (B.1.1.7) variant, and has rapidly spread world-
    * Corresponding authors                                                                     wide [1], posing a signiﬁcant threat to global COVID-19 control. The
      E-mail addresses: chaunvv@oucru.org (N.V.V. Chau), tanlv@oucru.org (L.V. Tan).            Delta variant possesses mutations in the spike protein (including
    #
      Members are listed in the Acknowledgements.

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                                                                                       Between 11th and 25th June 2021, an outbreak of breakthrough
    Research in context
                                                                                   infections occurred among staff members of an infectious diseases
                                                                                   hospital, the Hospital for Tropical Diseases (HTD), in Ho Chi Minh
    Evidence before this study
                                                                                   City, Vietnam. Nearly all of the staff had received a second dose of
    To date, existing data showed that breakthrough Delta variant                  Oxford-AstraZeneca vaccine 7 weeks previously. The ﬁrst case
    infections among vaccinated people had comparable viral loads                  (patient 1), a 41-year old man, was identiﬁed by PCR on 11th June
    with those in unvaccinated individuals infected with the Delta                 2021 having experienced body pain and tiredness. Following the
    variants, but there has been no study comparing viral loads of                 diagnosis of patient 1, HTD expanded the PCR screening for SARS-
    breakthrough infections with those in cases infected with the                  CoV-2 to all staff members. By the end of 12th June 2021, 52 addi-
    original SARS-CoV-2 strains detected in early 2020. Using PCR                  tional members were found to be infected, including all 6 members
    or viral culture, previous reports also showed that cases of                   who shared an ofﬁce with patient 1.
    breakthrough infections had a short duration of viral shedding                     Following Vietnamese Government regulations, HTD was locked
    of 7 days or less, but none has reported robust evidence demon-                down for two weeks (12th-26th June 2021), with no one allowed to
    strating the transmission of SARS-CoV-2 between fully vacci-                   enter or leave the hospital. Further PCR testing of all staff during this
    nated people. Most recently, a study in Israel identiﬁed a                     period identiﬁed 16 additional positive cases, totaling 69 infected
    correlation between neutralizing antibody titers after the sec-                members from 20/34 departments, corresponding to an overall PCR
    ond dose and at diagnosis and breakthrough infection with the                  positive rate of 8% (69/866) at the hospital-wide level. Serological
    Alpha variant.                                                                 testing for SARS-CoV-2 N protein antibodies (indicating naturally
                                                                                   acquired infection) was carried out on 683 staff (including those who
    Added value of this study                                                      stayed in HTD during the lockdown and the infected cases) between
                                                                                   13th and 16th June 2021, but none was positive.
    This study examined 62 (asymptomatic (n=13) and mildly
                                                                                       Here, we report the results of in-depth investigations of the out-
    symptomatic (n=49)) cases of breakthrough Delta variant infec-
                                                                                   break. We focused our analysis on the clinical features, viral evolution
    tions among Oxford-AstraZeneca vaccinated healthcare work-
                                                                                   and dynamics of viral loads and antibody responses during the course
    ers in an infectious diseases hospital in Ho Chi Minh City,
                                                                                   of breakthrough infections.
    Vietnam, and demonstrated evidence of secondary transmis-
    sion between vaccinated individuals through the analysis of
    epidemiological and viral whole-genome sequence data. Peak                     2. Materials and methods
    viral loads assessed by Ct value were 251 times higher than
    those in cases infected with the original SARS-CoV-2 strain                    2.1. Setting
    detected in Vietnam between March and April 2020. Vaccine-
    induced neutralizing antibodies after the second dose and at                       HTD is a 550-bed tertiary referral hospital for patients with infec-
    diagnosis were lower than those in the matched uninfected,                     tious diseases in southern Vietnam [7]. HTD has around 900 members
    fully vaccinated controls, but they were not associated with                   of staff and 34 departments. All ofﬁces except one are equipped with
    peak viral loads (i.e. infectivity) or the development of symp-                air conditioners that recirculate the air without mechanical ventila-
    toms during the course of infection.                                           tion (Supplementary Figure 1).
                                                                                       As an infectious hospital, HTD is responsible for COVID-19 patient
    Implications of all the available evidence                                     management. At the time of the outbreak, three departments were
                                                                                   dedicated for COVID-19 patients, and around 70 patients were being
    Breakthrough Delta variant infections are associated with                      treated at HTD. Access to COVID-19 patient departments was
    asymptomatic or mild disease, but resulted in high viral loads                 restricted to medical staff providing COVID-19 patient care. During
    and prolonged PCR positivity. In this study, high viral loads cou-             the lockdown, HTD temporarily stopped receiving new patients,
    pled with a poorly ventilated indoor setting without in-ofﬁce                  including those with COVID-19.
    mask wearing might have facilitated the transmission of the
    Delta variant between vaccinated individuals, emphasizing that
                                                                                   2.2. The vaccine evaluation study: a brief description
    social distancing measures remain critical to reduce the trans-
    mission of SARS-CoV-2 Delta variant, event in countries where
                                                                                      HTD staff members were amongst the ﬁrst people in Vietnam to
    vaccination coverage is high. The absence of correlation
                                                                                   be offered the Oxford-AstraZeneca COVID-19 vaccine, and 554 vacci-
    between neutralizing antibody levels and peak viral loads sug-
                                                                                   nated staff have been participating in an ongoing vaccine evaluation
    gested that vaccine might not lower the transmission potential
                                                                                   study since March 2021. The detailed descriptions about the study
    of breakthrough infection cases.
                                                                                   was previously reported [8]. In brief, the ﬁrst vaccine doses were
                                                                                   given on 8th March 2021; the second doses were given in the last two
                                                                                   weeks of April 2021. The window time between the two doses was 6
L452R and T478K) that makes the virus less susceptible to neutraliz-
                                                                                   weeks (Figure 1). Blood sampling was scheduled for the time points
ing antibodies generated by current vaccines or natural infection
                                                                                   before and approximately at 14 days after each dose, and at week 4,
[2,3]. These features have raised concern about Delta variant vaccine
                                                                                   and month 3, 6, and 12 after the ﬁrst dose. The outbreak coincided
escape potential and breakthrough infections.
                                                                                   with the blood-sampling schedule at month 3 after dose 1 (i.e.
    Data on vaccine breakthrough infections, especially those
                                                                                   between 8th 15th June 2021, Figure 1).
caused by the Delta variant, are limited [4,5]. Likewise, little is
known about the associated serological markers (i.e. vaccine
induced neutralizing antibody levels) of breakthrough infections,                  2.3. The breakthrough infection study
especially those infected with the Delta variant [6]. And scarce
epidemiological and molecular data exist regarding to the trans-                   2.3.1. Data and sample collection
mission of SARS-CoV-2 delta variant between fully vaccinated                           We collected demographic, vaccination history, and clinical data
individuals. Such knowledge is critical to informing the develop-                  alongside the results of routine SARS-CoV-2 PCR testing from the
ment and deployment of COVID-19 vaccine, and the implementa-                       study participants, conducted at least once every three days during
tion of infection control measures.                                                hospitalization.
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Figure 1. Flowchart showing timelines and results of SARS-CoV-2 RT-PCR screening before and during the lockdown (11-25 June 2021). Notes to Figure 1: *The remaining mem-
bers of staff were working from home.



2.3.2. Nasopharyngeal-throat swab collection, PCR testing and viral load                 the MagNApure 96 platform (Roche Diagnostics, Germany), according
conversion                                                                               to the manufacturer’s instructions. For SARS-CoV-2 RNA detection,
    Nasopharyngeal swabs were collected and placed in 1mL of viral                       we used real-time RT-PCR assay with primers and probe targeted at
transport medium, and 200uL was used for viral RNA extraction using                      the envelope protein-coding gene (TIB MOLBIOL) [9] with a cutoff of
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40 cycles. PCR Ct values were converted to RNA loads using an in-                   variables. We also applied the same multivariate regression analysis
house established formula (y = -0.3092x + 12.553, R2 = 0.9963, where                approach to assess the association between peak viral loads during
y is viral load and x is Ct value) based on 10-fold dilution series of in-          the course of breakthrough infections and neutralizing antibodies
vitro transcribed RNA [9,10].                                                       measured at diagnosis.

2.3.3. Whole genome sequencing and sequence analysis                                2.5. Ethics
    Whole-genome sequences of SARS-CoV-2 were directly obtained
from leftover RNA after PCR testing using ARTIC protocol [11] and                       The study was approved by the Institutional Review Board of HTD
Illumina reagents on a MiSeq platform with the inclusion of a nega-                 and the Oxford Tropical Research Ethics Committee, University of
tive control in every sequencing run. The obtained reads from indi-                 Oxford, UK. Written informed consent was obtained from all the par-
vidual samples were mapped to a SARS-CoV-2 reference genome                         ticipants. Whole-genome sequencing of SARS-CoV-2 formed part of
(GISIAD sequence ID: EPI_ISL_1942165) to generate the consensuses                   the national response to the COVID-19 outbreak in Vietnam. Accord-
using Geneious software (Biomatter, New Zealand). SARS-CoV-2 vari-                  ingly, obtaining informed consent was deemed unnecessary.
ant assignment was carried out using Pangolin [12]. Detection of
amino acid changes as compared to the original Wuhan strain was                     2.6. Role of the funders
done using COV-GLUE [13]. Maximum likelihood phylogenetic tree
was reconstructed using IQ-TREE [14].                                                  The funders of the study had no role in data collection, analysis,
                                                                                    interpretation, writing of the manuscript and the decision to submit
2.3.4. Blood collection and SARS-CoV-2 antibody measurement                         the manuscript.
    For SARS-CoV-2 antibody measurement, we obtained 2ml of EDTA
plasma from each study participant at diagnosis and every week after                3. Results
diagnosis for a duration of up to three weeks. Any study participants,
who were discharged before the time point scheduled for weekly                      3.1. Demographics and clinical features
sampling, were not subjected to additional blood collection. When
convenient, we used leftover blood samples collected as part of the                     In total 69/866 (8%) staff members were found positive for SARS-
initial investigation of the outbreak.                                              CoV-2 by PCR testing during the lockdown period. As per the national
    We measured antibodies (IgM and IgG) against SARS-CoV-2                         COVID-19 management policy in Vietnam, all the 69 infected mem-
nucleocapsid (N) protein using Elecsys Anti‑SARS‑CoV‑2 assay (Diag-                 bers of HTD staff were admitted to HTD for clinical follow-up. Their
nostics, Germany) with a cutoff index of 1.0, and SARS-CoV-2 neutral-               associated departments are listed in Supplementary Table 4. They all
izing antibodies using SARS-CoV-2 Surrogate Virus Neutralization                    were invited to participate in an ongoing observational study [7].
Test (sVNT) (GenScript, USA) with a cutoff of 30% [15]. The experi-                 And 62 (including 53/53 tested positive on 11th-12th June and 9/16
ments were carried according to the manufacturers’ instructions.                    tested positive between 13th-25th June) consented to have their clini-
                                                                                    cal features reported. The 7 staff members who did not enter the
2.3.5. Additional data for case-control analyses                                    study were excluded by chance. Comparison between them and
    To assess the potential association between vaccine breakthrough                those included did not suggest bias was introduced, male/female
infections and the levels of vaccine-induced neutralizing antibodies,               ratio: 3/4 vs. 33/29, p=0.702 and median age in years (IQR): 36 (27-
we compared available antibody levels measured after the second                     53) vs. 42 (32-50), p=0.582, respectively.
dose (approximately 14 days) and at month 3 after the ﬁrst vaccine                      Of the 62 study participants, two had received one dose of Oxford-
dose in fully vaccinated, uninfected staff (controls) with the cases [8].           AstraZeneca vaccine, and 60 (including patient 1) had received two
To ensure the statistical power of the study, we applied a matching                 doses. Two presented with symptoms at diagnosis (11th and 15th
ratio of 1:3 (1 case and 3 controls). We matched cases with the unin-               June), and 47 developed symptoms between 1-15 days after diagno-
fected, fully vaccinated controls for age and gender (Supplementary                 sis (Supplementary Figure 2). Chest x-ray examination was per-
Tables 1).                                                                          formed on 34 cases. Of these, three had evidence of pneumonia,
    For viral load comparison, we used previously reported data from                including one requiring oxygen supplementation for three days
SARS-CoV-2 infected cases from the early phase of the pandemic in                   because of shortness of breath. This staff member was fully vacci-
Vietnam between March and April 2020 (Supplementary Table 2) [7].                   nated. Otherwise, they all were either mildly symptomatic or asymp-
Herein, we used the term “original strain” to refer to the SARS-CoV-2               tomatic (i.e. no observed symptoms during the course of infection)
strain detected in those earlier patients.                                          (Table 1). All recovered uneventfully.

2.4. Data analysis                                                                  3.2. Viral loads

    Data analysis was carried out using SPSS v27 (SPSS Inc, Chicago,                    At diagnosis, median PCR Ct value of the 62 study participants was
US) or Graphpad Prism v9.0.2 (Graphpad Software, California, US).                   31.9 (IQR: 23.3 34.9), equivalent to log10 copies per mL of 4.4 (IQR:
For comparison between groups of categorical data, we used the                      3.5 7.1); eleven (21%) of the ﬁrst 53 cases from 5 different depart-
Fisher exact test for expected frequencies of <5, otherwise, we used                ments had high viral loads (i.e. a Ct value of between 14.0 and 22.6),
the Chi-squared test. The Mann-Whitney U test was used for                          equivalent to log10 copies per mL of 7.3 9.9, including patient 1 and
nonparametric comparisons of data. The repeated mesurement of                       4/6 members sharing the ofﬁce with him.
viral loads and antibodies over the time were tested                                    Of the 49 symptomatic cases, high viral loads were observed
using ANOVA and the non-parametric Friedman test, respectively.                     around 2-3 days before and after symptom onset (Figure 2A). Their
For comparison between the viral loads of the controls and the case                 peak viral loads measured at any time point during the course of
patients we used multivariate regression with type-II sum of square                 infection were higher than that of asymptomatic cases (median
and age, gender, symptomatic status and comorbidity as variables in                 (IQR): 16.5 (15.6 17.9) vs. 30.8 (16.4 33.9), equivalent to median
order to control for potential associated confounding effects. For                  log10 viral load of 9.2 copies per mL (IQR: 8.7 9.4) vs. 4.7 copies per
comparison between neutralizing antibodies after vaccination and at                 mL (IQR: 3.8 9.2), p=0.004, respectively) (Figure 2B and Supplemen-
diagnosis between cases and control, we applied the same statistical                tary Figure 3). The median time from diagnosis to PCR negative was
approach with age, gender and the number days since dose two as                     21 days (range 8 33).
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 Table 1                                                                                       community transmission in HCMC and from the COVID-19 patients
 Demographics and clinical characteristics of the study participants                           admitted HTD prior to the outbreak (Figure 3).
   Signs/Symptoms                  All cases (n=62)   Male (n=33)      Female (n=29)
                                                                                               3.4. Antibody development
   Age, y, median (IQR)            41.5 (32-50)       41 (34-50)       43 (29-50)
   Occupation, n (%)
   Nurse                           13 (21)            5 (15)           8 (28)                      A total of 210 plasma samples were collected from the 62 study
   Pharmacist                      10 (16)            3 (9)            7 (24)                  participants, including 61 at diagnosis, and 61 at week 1, 57 at week
   IT                              7 (11)             7 (21)           0                       2 and 31 at week 3 after diagnosis. The missing data was either attrib-
   Clinician                       7 (11)             5 (15)           2 (7)
                                                                                               uted to lost to follow up (n=1 each at diagnosis and at week 1 after
   Accountant                      4 (6)              0                4 (14)
   Technical staff                 3 (5)              3 (9)            0
                                                                                               diagnosis, and n=3 at week 2) or early discharge (n=1 and n=31 at
   Cleaner                         2 (3)              2 (6)            0                       week 2 and 3, respectively).
   Others^                         16 (26)            8 (24)           8 (28)                      The 61 at-diagnosis plasma samples were collected 1-3 days
   Symptomatic, n (%)              49 (79)            24 (73)          25 (86)                 before PCR diagnosis (n=7 as part of the initial outbreak investigation
   Acute respiratory               43 (69)            23 (70)          20 (69)
                                                                                               between 13th and 16th June 2021), on the day of diagnosis (n=2), and
      infection^^
   PCR diagnosis to illness        4 (2-7)            3 (2-6)          5 (2-8)                 1 day (n=43) and 2 days (n=9) after diagnosis. Of these, all but three
      onset, d, (median; IQR)*                                                                 had detectable neutralizing antibodies, with comparable levels
   Comorbidity#, n (%)             17 (27)            9 (27)           8 (28)                  between symptomatic and asymptomatic cases (median % of inhibi-
   COVID-19 vaccination<, n        62 (100)           33 (100)         29 (100)                tion (IQR): 69.0 (46.5-86.7) vs. 69.7 (61.1-81.8), p=0.918) (Supple-
      (%)
   Two doses                       60 (97)            33 (100)         27 (93)
                                                                                               mentary Figure 4). There was no correlation between neutralizing
   One dose                        2 (3)              0                2 (7)                   antibodies at diagnosis and peak viral loads during the course of
   Fever, n (%)                    17 (27)            9 (27)           8 (27)                  infection (R2<0.001 and p=0.835) (Figure 4). At week 2 and 3 after
   Cough, n (%)                    23 (37)            19 (58)          14 (48)                 diagnosis, neutralizing antibody levels of the cases signiﬁcantly
   Sore throat, n (%)              21 (34)            9 (27)           12 (41)
                                                                                               increased (p<0.001, Supplementary Figure 4).
   Runny nose, n (%)               22 (36)            9 (27)           13 (45)
   Loss of smell, n %)             24 (39)            14 (42)          10 (35)                     The seroconversion rates for antibodies against N protein steadily
   Loss of taste, n (%)            5 (8)              3 (9)            2 (7)                   increased from 0% at baseline to 65% (20/31) at week 3 after diagno-
   Muscle pain, n (%)              17 (27)            13 (39)          4 (14)                  sis. Asymptomatic patients had slightly lower seroconversion rates
   Headache, n (%)                 12 (19)            6 (18)           6 (21)                  than symptomatic patients (week 1: 0% (0/13) vs. 4% (2/48), p=1.0,
   Chest pain, n (%)               2 (3)              0                2 (7)
   Nausea, n (%)                   5 (8)              3 (9)            2 (7
                                                                                               week 2: 0% (0/13) vs. 36% (16/44), p=0.012 and week 3: 40% (2/5) vs.
   Others, n (%)$                  5 (8)              1 (3)            4 (14)                  69% (18/26), p=0.317, respectively) (Supplementary Figure 5).
   Shortness of breath             2 (4)              0                2 (6)
   Pneumonia, n (%)**              3 (5)              0                3 (10)                  3.5. Case-control analyses of neutralizing antibodies after vaccination
 Notes to Table 1:                                                                             and at diagnosis
 IQR: interquartile range
 ^including data entry (n=1), driver (n=4) and specialists with additional details not
                                                                                                   Ten of the 62 infected staff members participating in the study
 available (n=11)
 ^^Runny nose, cough, sore throat, muscle pain, chest pain, chills, or shortness of            had neutralizing antibodies measured at 14 days after their second
 breath                                                                                        vaccine dose and at diagnosis (month 3 after the ﬁrst dose). Neutral-
 *Symptomatic cases only                                                                       izing antibody levels measured at day 14 post vaccination and at
 **One requiring oxygen supplementation via nasal cannula for 3 days.                          diagnosis were similar (median % of inhibition (IQR): 69.4 (50.7-89.1)
   <
      All receiving Oxford-AstraZeneca vaccine; the second doses were given in last
 2 weeks of April 2021.
                                                                                               vs. 59.4 (32.5-73.2), p=0.353). However, compared with the 30 con-
   #
      Overweight (n=6), obese (n=3), hypertension (n=3), hepatitis B (n=2), diabetes           trols (matching ratio 1:3), these 10 cases had lower day-14 and at-
 (n=1), pregnancy (n=1), diabetes and hepatitis B (n=1).                                       diagnosis neutralizing antibody levels (median % of inhibition (IQR):
   $
      Chills (n=2), sweating (n=1), giddiness (n=1), red eyes (n=1), and diarrhea (n=1)        69.4 (50.7-89.1) vs. 91.3 (79.6-94.9), p=0.005 and 59.4 (32.5-73.1) vs.
                                                                                               91.1 (77.3-94.2), p=0.043, respectively) (Figure 5).
                                                                                                   Case-control analysis for all 62 study participants was hampered
    Compared with peak viral loads in SARS-CoV-2 infected cases                                by the unavailability of the controls. However, there was no differ-
detected in Vietnam between March and April 2020, median peak                                  ence in demographics and the levels of neutralizing antibodies mea-
viral loads of the breakthrough cases were equivalent to 251 times                             sured at diagnosis between the 10 infected staff members included
higher (median log10 viral load in copies per mL (IQR): 9.1 (8.7 9.4)                          for case-control analysis and those who was not included (Supple-
vs. 6.7 (4.7 7.4), p=0.001). The differences between the groups were                           mentary Table 4).
even greater among symptomatic cases (median log10 viral load in
copies per mL (IQR): 9.2 (8.7 9.4) vs. 7.0 (6.3 7.6), p<0.001). In                             4. Discussion
those without symptoms, however, viral loads were similar (median
log10 viral load in copies per mL (IQR): 4.7 (3.8 9.2) vs. 4.9 (3.2-8.6)                           We studied Oxford-AstraZeneca vaccine breakthrough infections
p=0.540) (Figure 2B).                                                                          associated with SARS-CoV-2 Delta variant among staff in a 550-bed
                                                                                               infectious diseases hospital in HCMC, Vietnam between 11th and 25th
3.3. Whole genome sequencing                                                                   June 2021. The infections occurred 7-8 weeks after most staff
                                                                                               received a second vaccine dose. 62/69 infected staff members partici-
    A total of 22 whole genome sequences of SARS-CoV-2 were                                    pated in the clinical study. One required oxygen supplementation for
obtained from 22 fully vaccinated staff members (including patient 1                           three days but all other infections were either asymptomatic or mild
and 1/7 staff member not participating in the present study) from 9                            and everyone made a full recovery, consistent with vaccine’s effec-
different HTD departments (Supplementary Table 3). All were                                    tiveness at protecting against severe disease [16-19]. Yet, we report
assigned to the SARS-CoV-2 Delta variant. They were either identical                           for the ﬁrst time the serological markers associated with break-
or different from each other by only 1 to 7 nucleotides and no novel                           through Delta variant infection, and the likely transmission of the
amino acid changes were identiﬁed among them. Phylogenetically,                                Delta variant between fully vaccinated individuals.
the 22 sequences clustered tightly together and were separated from                                All of the 23 whole-genome sequences of SARS-CoV-2 obtained
the contemporary Delta variant sequences obtained from cases of                                from the infected, fully vaccinated staff members clustered tightly on
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Figure 2. Viral load analyses, A) plot outlining kinetics of viral loads in relation to illness onset of the 49 symptomatic participants, B) comparison between peak viral loads of break-
through infections (cases) and those (controls) infected with old SARS-CoV-2 strains detected between March and April 2020 in Vietnam. Notes to Figure 2: Vertical dashed line
indicates the time point of illness onset. Horizontal dashed line indicates detection limit of PCR assay. A) Black lines indicates median viral loads, B) black dots represent for whole
groups, red dots represent for symptomatic cases and blue dots represent for asymptomatic cases.


a phylogenetic tree and were distinct from contemporary Delta vari-                                 Lower levels of neutralizing antibodies after vaccination and at
ant genomes obtained from the community and the hospital prior to                               diagnosis were associated with breakthrough infections in a recent
the outbreak. Furthermore, the outbreak appeared to localize to a                               report from Israel [6], consistent with our ﬁndings. However, in con-
poorly ventilated administrative ofﬁce, where all 7 members were                                trast with the Israeli study, we found no correlation between vac-
fully vaccinated but became infected. These ﬁndings strongly suggest                            cine-induced neutralizing antibody levels at diagnosis and viral loads
transmission from and between fully vaccinated individuals. We can-                             inferred from PCR Ct values (a surrogate of infectivity). We also found
not deﬁnitively exclude a common external source, however, but                                  evidence of ongoing transmission between vaccinated staff members,
other features indicate it was unlikely. At HTD, access to COVID-19                             while no secondary transmission was documented in the Israeli
patient departments was restricted to medical staff and the majority                            study. The difference in the responsible variants (Alpha in the Israeli
of the infections occurred amongst non-medical staff. Additionally,                             study and Delta in present study) might explain the different ﬁnd-
because community transmission of SARS-CoV-2 had been escalating                                ings. Additionally, our study also showed no correlation between
in HCMC since May 2021, public gatherings of more than 10 people                                neutralizing antibody levels at diagnosis and the development of
had been banned. Thus it seems unlikely that the outbreak originated                            symptoms. Collectively, while neutralizing antibodies might be a sur-
from hospital patients or was linked to a mass gathering, super-                                rogate of protection, especially against severe diseases as a whole
spreader event outside the hospital.                                                            [24], they might not be good indicators of infection progression and
    At the beginning of the outbreak (11th June 2021), only patient 1                           infectiousness for breakthrough Delta variant infection.
presented with symptoms. Therefore, secondary transmission may                                      At the beginning of the outbreak, none of the HTD members of
have occurred prior to the development or in the absence of symp-                               staff (including the PCR conﬁrmed cases) tested positive for N-protein
toms, a well-recognised phenomenon in unvaccinated people [7]. In                               antibodies, which only develop in response to whole-virus based vac-
our study, transmission may be attributed to several factors. Firstly,                          cine and natural infection. Additionally, between 12th and 14th May
high viral loads, >7 log10 copies per mL, which has been strongly cor-                          2021, all members of HTD staff were subjected to a periodic testing
related with positive culture (i.e. infectiousness) [10,20], was                                for SARS-CoV-2 by PCR, but none was positive. These features suggest
recorded at diagnosis in 11 of the ﬁrst 53 positive cases. Second, HTD                          that the infected cases were captured at an early phase of the infec-
ofﬁces are typically equipped with air conditioners without mechani-                            tion. Therefore, by carefully following up the patients during hospi-
cal ventilation systems, an indoor setting that could facilitate the                            talization, we have also provided new insights into the natural
transmission of SARS-CoV-2 [5,21]. Third, mask wearing in the ofﬁce                             history of breakthrough Delta variant infections. We found viral loads
was not mandatory at the time.                                                                  of breakthrough Delta variant infection cases were 251 times higher
    At diagnosis neutralizing antibody levels in a subset of the                                than those of the infected cases detected during the early phase of
infected staff were comparable with that measured at 14 days after                              the pandemic in 20207, with high viral loads recorded around 2-
the second vaccine dose. Additionally, prior to the outbreak, HTD staff                         3 days before and after the development of symptoms. Notably, a
members remained naïve to the infection, as evidenced by the                                    recent report from the US showed comparable viral loads between
absence of N protein antibodies in all staff members [22,23]. There-                            vaccinated and unvaccinated individuals infected with the Delta vari-
fore, neutralizing antibodies at diagnosis were likely derived from                             ant.5 Additionally, a study from China showed viral loads in people
vaccination rather than natural infection.                                                      infected with the Delta variant were 1000 times higher than those in
                                                                                                individuals infected with SARS-CoV-2 19A/19B strains detected in
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Figure 3. Maximum likelihood tree illustrating the relatedness between SARS-CoV-2 Delta variant strains obtained from cases of vaccine breakthrough infection (red) and contem-
porary Delta variant sequences obtained from cases of community transmission in Ho Chi Minh City (blue) and from COVID-19 patients admitted to HTD prior to the outbreaks (in
blue marked with dots).




                              Figure 4. Correlation between neutralizing antibodies at diagnosis and peak viral loads during the course of infection
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                                                                                            Study implementation and patient enrolment: VMQ, DBK, NTP,
                                                                                         HPT, NTNM, NCH, LMH, LMT, LMY
                                                                                            Data collection: NTMT, TNHT, NHTT, NTP, DBK, VMQ
                                                                                            Laboratory testing: LAN, BTTT, VVP, TNPT, VTV, TTTT, NTT, HTB,
                                                                                         HTKN, LTTU
                                                                                            Sequencing: NTTH, NTKT, LNTN, NTA, NTHN
                                                                                            Data analysis: VMQ, TTT, MC, LVT, NTA, NTTH, NMN, DTBT, DNHM
                                                                                            Laboratory supervision: DTBT, DNHM, NMN
                                                                                            Access to data and data veriﬁcation: NVVC, DBK, VMQ, NTP, NTMT,
                                                                                         NMN, MC, TTT, GT, LVT
                                                                                            Manuscript drafting, editing and writing: LVT
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                                                                                            All authors reviewed, approved, and agreed to submit the ﬁnal
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                                                                                         Data sharing

                                                                                            SARS-CoV-2 sequences have been submitted to GISIAD (gisaid.
                                                                                         org). De-identiﬁed study data are available for access by accredited
                                                                                         researchers in accordance with data sharing policies of OUCRU.

Figure 5. Comparison between neutralizing antibody levels of the 10 case patients
(red) and 30 uninfected, fully vaccinated controls (grey green)
                                                                                         OUCRU COVID-19 Research Group

                                                                                            Hospital for Tropical Diseases, Ho Chi Minh City, Vietnam:
                                                                                         Nguyen Van Vinh Chau, Nguyen Thanh Dung, Le Manh Hung, Huynh
China in early 2020 [25]. Collectively, high viral loads might explain
                                                                                         Thi Loan, Nguyen Thanh Truong, Nguyen Thanh Phong, Dinh Nguyen
the current rapid expansion of the Delta variant, even in the countries
                                                                                         Huy Man, Nguyen Van Hao, Duong Bich Thuy, Nghiem My Ngoc,
with high vaccination coverage. Additionally, previous reports
                                                                                         Nguyen Phu Huong Lan, Pham Thi Ngoc Thoa, Tran Nguyen Phuong
showed short duration of PCR positivity or culturable viruses
                                                                                         Thao, Tran Thi Lan Phuong, Le Thi Tam Uyen, Tran Thi Thanh Tam,
(2 7 days after diagnosis) among breakthrough infections [26,27]. In
                                                                                         Bui Thi Ton That, Huynh Kim Nhung, Ngo Tan Tai, Tran Nguyen Hoang
contrast, we found prolonged PCR positivity was up to 33 days in our
                                                                                         Tu, Vo Trong Vuong, Dinh Thi Bich Ty, Le Thi Dung, Thai Lam Uyen,
study participants.
                                                                                         Nguyen Thi My Tien, Ho Thi Thu Thao, Nguyen Ngoc Thao, Huynh
    Our study has several limitations. First, we only obtained SARS-
                                                                                         Ngoc Thien Vuong, Huynh Trung Trieu Pham Ngoc Phuong Thao,
CoV-2 genomes from 21/62 study participants, leaving the responsi-
                                                                                         Phan Minh Phuong
ble variants in the remaining infected cases unknown. Second, we
                                                                                            Oxford University Clinical Research Unit, Ho Chi Minh City,
only focused our analysis on a hospital setting for a duration of two
                                                                                         Vietnam: Dong Thi Hoai Tam, Evelyne Kestelyn, Donovan Joseph,
weeks. Therefore, our ﬁndings might not be generalizable for the
                                                                                         Ronald Geskus, Guy Thwaites, Ho Quang Chanh, H. Rogier van Doorn,
general population, of which exposure to the virus might be different.
                                                                                         Ho Van Hien, Ho Thi Bich Hai, Huynh Le Anh Huy, Huynh Ngan Ha,
Additionally, the short duration of the study coupled with the uncer-
                                                                                         Huynh Xuan Yen, Jennifer Van Nuil, Jeremy Day, Katrina Lawson, Lam
tain exposure to the virus prevented us from quantifying the risk of
                                                                                         Anh Nguyet, Lam Minh Yen, Le Dinh Van Khoa, Le Nguyen Truc Nhu,
infection between vaccinated and unvaccinated individuals [28].
                                                                                         Le Thanh Hoang Nhat, Le Van Tan, Sonia Lewycka Odette, Louise
Third, we did not perform virus isolation to assess the duration of
                                                                                         Thwaites, Marc Choisy, Mary Chambers, Motiur Rahman, Ngo Thi
viral shedding, relying instead on PCR Ct values as a surrogate of
                                                                                         Hoa, Nguyen Thanh Thuy Nhien, Nguyen Thi Han Ny, Nguyen Thi
infectivity. Fourth, information about other potential confounders
                                                                                         Kim Tuyen, Nguyen Thi Phuong Dung, Nguyen Thi Thu Hong, Nguyen
(including BMI) was not available for inclusion in the case-control
                                                                                         Xuan Truong, Phan Nguyen Quoc Khanh, Phung Le Kim Yen, Phung
analysis. Last, none of the infected staff members was older than
                                                                                         Tran Huy Nhat, Sophie Yacoub, Thomas Kesteman, Nguyen Thuy
60 years. Therefore, milder disease might be anticipated and break-
                                                                                         Thuong Thuong, Tran Tan Thanh, Vu Thi Ty Hang
through Delta variant infections in older people with comorbidities
may be more severe.
    In summary, we report SARS-CoV-2 Delta variant breakthrough                          Declaration of Competing Interest
infections among vaccinated health care workers with likely trans-
mission between them. Most experienced mild symptoms and all                                  All authors declare no competing interests.
recovered uneventfully. The infections were associated with high
viral loads, prolonged PCR positivity, and low levels of neutralizing                    Acknowledgements
antibodies after vaccination and at diagnosis.
                                                                                             We thank our colleagues at the Hospital for Tropical Diseases in
Contributors                                                                             Ho Chi Minh City, Vietnam for their participations in this study and
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